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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

Sehr the gins AKA,

(in the space above enter the full name(s) of the plaintiffs).

 

- against -

we (ks few ger eh COMPLAINT

: b oo Jury trial 7 ves [] No
Gk ud, Pet jaie Satie (check one)

 

 

 

 

 

 

 

 

 

(In the space above enter the full name(s) of the defendant(s). If you
cannot fit the names of all of the defendants in the space provided,
please write “see attached” in the space above and attach an
additional sheet of paper with the full list of names. The names
listed in the above caption must be identical to those contained in
Part I. Addresses should not be included here. }

I. Parties in this complaint:

A. List your name, address and telephone number. Do the same for any additional plaintiffs named. Attach
additional sheets of paper as necessary.

Plaintiff Name Jovan | LL & G li ti o

Street Address Z YU | eqyeeye

County, City Obert, No
State & Zip Code 0) OS?
Yet 703 vecy

 

Telephone Number
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B. List all defendants. You should state the full name of the defendants, even if that defendant is a government
agency, an organization, a corporation, or an individual. Include the address where each defendant can be
served. Make sure that the defendant(s) listed below are identical to those contained in the above caption.
Attach additional sheets of paper as necess

Defendant No. 1 Name Ale Arai Dea, Nh.

Street Address M0 _ Wate

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County, City The. Geemlisck. | C ee

State & Zip Code

Defendant No. 2 Name C | “ i Poel dk Seth >

Street Address 2 ol > Siw (eam ww 1a.

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State & Zip Code KULILS

Defendant No. 3 Name Ube ac Wet

Street Address

 

 

County, City
State & Zip Code

 

 

Defendant No. 4 Name

 

Street Address

 

County, City
State & Zip Code

 

 

IL. Basis for Jurisdiction:

Federal courts are courts of limited jurisdiction. There are four types of cases that can be heard in federal court: I)
Federal Question - Under 28 U.S.C. § 1331, a case involving the United States Constitution or federal laws or treaties
is a federal question case; 2) Diversity of Citizenship - Under 28 U.S.C. § 1332, a case in which a citizen of one
state sues a citizen of another state and the amount in damages is more than $75,000 is a diversity of citizenship case;
3) U.S. Government Plaintiff; and 4) U.S. Government Defendant.

A. What is the basis for federal court jurisdigfion? (check all that apply)

[__]Federal Questions qe ersity of Citizenship

[ us. Government Plaintiff [Jes Government Defendant

B. If the basis for jurisdiction is Federal Question, what federal Constitutional, statutory or treaty right is at

issue?

 

 

 
 

 

 

 

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C. {f the basis for jurisdiction is Diversity of Citizenship, what is the state of citizenship of each party?

Plaintiff(s) state(s) of citizenship

Defendant(s) state(s) a ienship YO ABIES Vornuple Dey Byci, 5
San fyocuse, bf: rae Say Bina to
%

State as briefly as possible the facts of your case. Describe how each of the defendants named in the caption of this UNAS
complaint is involved in this action, along with the dates and locations of all relevant events. You may wish to

include further details such as the names of other persons involved in the events giving rise to your claims. Do not

cite any cases or statutes. If you intend to allege a number of related claims, number and set forth each claim ina

separate paragraph. Attach additional sheets of paper as necessary.

bonge, now ler
A. Where did the events giving rise to your claim(s) occur? QV ge } hiw ama

 

Il. Statement of Claim:

 

 

me date and approximate time did the events giving rise to your claim(s) occur?

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What C. Facts:
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IV. Injuries:

If you sustained injuries related ty the events alleged mn scribe them an {pxiate what medical if any,
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V. Relief:

State what you want the Court to do for you and the amount of monetary compensation, if any, you are seeking, and

the basis for such compensation. . i , r

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I declare under penalty of us that the foregoing is true and correct.

sw
Signed this Kt. of. \ou Vor , 20 \o_.

Signature of Plaintiff, (. AY > 4
Mailing Address Se a j/
/ Gans
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Telephone Number SeL- “| 0 A- es

Fax Number (if vou it, one)

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E-mail Address

Note: All plaintiffs named in the caption of the complaint must date and sign the complaint.

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